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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - GENERAL
Case No. 2:21-cr-207-DMG Date November 3, 2021

 

Title United States v. Patrick Michael O’Reilly

 

Present: The Honorable Steve Kim, U.S. Magistrate Judge

 

 

Connie Chung n/a
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Government: Attorneys Present for Defendant:
na n/a
Proceedings: (IN CHAMBERS) ORDER OF DETENTION

The Court conducted a bail review hearing based upon:

L] The motion of the Government [18 U.S.C. § 3142(f)(1)] in a case allegedly
involving:

Xx The motion of the Government or on the Court’s own motion [18 U.S.C.

§ 3142(f)(2)] in a case allegedly involving: a serious risk that the defendant will flee and a
serious risk that the defendant will obstruct or attempt to obstruct justice, or threaten, injure, or
intimidate a prospective witness or juror, or attempt to do so.

O The Court concludes that the Government is entitled to a rebuttable presumption
that no condition or combination of conditions will reasonably assure the defendant’s
appearance as required and the safety of any person or the community [18 U.S.C. § 3142(e)(3)].

OJ The Court finds that the defendant LJ has LJ has not rebutted the presumption
under 18 U.S.C. § 3142(e)(3) by sufficient evidence to the contrary.

%* OK

The Court finds that no condition or combination of conditions will reasonably assure:
XX] the appearance of the defendant as required (as proven by a preponderance of
the evidence).

XX] the safety of any person or the community (as proven by clear and convincing
evidence).

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The Court bases its findings (in addition to any made on the record at the hearing) on the
following grounds:

As to risk of non-appearance:

Xx $15,000 proposed bail amount insufficient.
Xx One proposed surety lives outside the United States.

Xx Only self-employment would be reasonably available, but such

employment is plausibly suspected of being used to facilitate uncharged, but
actively investigated, fraudulent activities.
Previous failure to appear in criminal history record

Confirmed probation violation in criminal history record

Unrebutted presumption [18 U.S.C. § 3142(e)]

Strength of the evidence, though this factor is given the least amount of
weight by court

Length of potential incarceration if convicted

History of alcohol or substance abuse

Outpatient mental health services inadequate condition given prior
declarations of doubt about competency, suggesting risk of decompensation is real
without more supervised setting like residential mental health treatment

O Lack of legal status in the United States

X) Use of aliases and false documents; impersonating law enforcement

XX] Recent law enforcement contacts revealing a concerning combination of
deception, weapons, and harm to person and property of others.

| Nature and circumstances of the indicted crimes, including attempted
witness tampering and possession of numerous weapons as a prohibited person

X] Reasons suggesting risk of non-appearance set forth in PTS Report adopted
by Court

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CRIMINAL MINUTES - GENERAL
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As to danger to the community:

X] Nature of previous criminal convictions and history, but especially history
of law enforcement contacts involving deception, weapons, or injury to
persons/property.

| Nature and seriousness of charges in indictment, including attempted
witness tampering and possession of numerous weapons as a prohibited person
XX] Ongoing mental health concerns and risk of decompensation, combined

with lack of adequate structure, supervision, and stability to maintain remission in
a non-custodial setting

History of untreated mental health problems and insufficient conditions that

can assure remission is maintained with disciplined medication regimen.
Unrebutted presumption [18 U.S.C. § 3142(e)]

Law enforcement contacts involving violence or use of weapons
Participation in criminal activity while on probation
Reasons suggesting risk of danger set forth in PTS Report adopted by Court

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In reaching this decision, the Court considered: (a) the nature and circumstances of the
offense(s) charged, including whether the offense is a crime of violence, a federal crime of
terrorism, or involves a minor victim or a controlled substance, firearm, explosive, or destructive
device; (b) the weight of evidence against the defendant; (c) the history and characteristics of the
defendant; and (d) the nature and seriousness of the danger to any person or the community.

[18 U.S.C. § 3142(g)] The Court also considered the evidence presented at the hearing, the
arguments of counsel, and the report and recommendation of the U.S. Pretrial Services Agency.

IT IS THEREFORE ORDERED that the defendant be detained until trial. The
defendant will be committed to the custody of the Attorney General for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving
sentences or being held in custody pending appeal. The defendant will be afforded reasonable
opportunity for private consultation with counsel. On order of a Court of the United States or on
request of any attorney for the Government, the person in charge of the corrections facility in
which defendant is confined will deliver the defendant to a United States Marshal for the
purpose of an appearance in connection with a court proceeding. [18 U.S.C. § 3142(i)]

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